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12
13                         UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15
16    STEADFAST INSURANCE COMPANY,                Case No.
17                   Plaintiff,                    COMPLAINT FOR
                                                   DECLARATORY JUDGMENT
18          v.

19    ONQUEST, INC.,
                     Defendant.
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                             COMPLAINT FOR DECLARATORY JUDGMENT
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 1         Plaintiff, Steadfast Insurance Company (“Steadfast”) by and through its
 2 attorneys, for its Complaint against Defendant OnQuest, Inc. (“OnQuest”) alleges as
 3 follows:
 4                                          PARTIES
 5         1.     Steadfast is an Illinois corporation with its principal place of business in
 6 Schaumberg, Illinois.
 7         2.     OnQuest is a California corporation with its principal place of business in
 8 San Dimas, California. On information and belief, OnQuest has been registered to do
 9 business in California since on or about February 6, 2002, and remains qualified to do
10 business in the State today.
11                                NATURE OF THE ACTION
12         3.     In this action, Steadfast seeks a declaratory judgment pursuant to 28
13 U.S.C. § 2201 that it owes no insurance coverage to OnQuest in connection with
14 OnQuest’s alleged design defects arising out of construction of a replacement natural
15 gas liquefaction facility.
16         4.     Specifically, OnQuest alleges that it entered into an agreement to design
17 and construct an updated liquid natural gas liquefaction facility to replace an existing
18 facility in Hopkinton, Massachusetts (the “Project”), that OnQuest was negligent in
19 the overall design of the Project, and that, as a result of its errors and omissions in the
20 rendition of professional engineering services, it has incurred and will continue to
21 incur “Actual and Necessary Costs and Expenses” to rectify its “Design Defects” in an
22 amount exceeding $25,000,000 (“Rectification Costs”).
23         5.     OnQuest has requested that Steadfast indemnify it for its Rectification
24 Costs under a “Contractor’s Protective Professional Indemnity and Liability Insurance
25 Policy,” Policy No. EOC 9485666-09, effective for the Policy Period June 15, 2020,
26 to June 15, 2021, issued by Steadfast (the “Policy”). OnQuest has indicated that it
27 seeks the full Limits of Liability of $25,000,000 in coverage under the Policy for its
28 incurred Rectification Costs.
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 1         6.     Steadfast has disclaimed coverage under the Policy for OnQuest’s
 2 Rectification Costs on the grounds that OnQuest failed to report the costs incurred to
 3 Steadfast during the policy period, as required by the terms of the Policy.
 4         7.    Steadfast seeks relief from this Court in the form of a declaration that is
 5 has no obligation to indemnity OnQuest for the alleged Rectification Costs that
 6 OnQuest has sought in connection with the Project under the Policy.
 7                             JURISDICTION AND VENUE
 8         8.    This Court has jurisdiction over this matter pursuant to 28 U.S.C.
 9 § 1332(a) because there is complete diversity between Steadfast and OnQuest and
10 because the amount in controversy exceeds $75,000, exclusive of interest and costs.
11         9.    An actual and justiciable controversy exists between Steadfast and
12 OnQuest concerning the rights, duties and obligations under the Policy issued by
13 Steadfast. Pursuant to 28 U.S.C. § 2201 and Fed. R. Civ. P. 57, this Court may
14 determine the rights and obligations of the parties under the Policy.
15         10.   Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1)
16 because Defendant OnQuest resides in this district and under 28 U.S.C. § 1391(b)(2)
17 because a “substantial part of the events or omissions giving rise to the claim”
18 occurred here.
19                                      THE POLICY
20         11.   Steadfast issued “Contractor’s Protective Professional Indemnity and
21 Liability Insurance Policy” No. EOC 9485666-09 to first “Named Insured” Primoris
22 Services Corporation (“PSC”) for the Policy Period of June 15, 2020 – June 15, 2021.
23 A true and correct copy of the Policy is attached as Exhibit A.
24         12.   On information and belief, OnQuest is a subsidiary of PSC and, as such,
25 is also a “Named Insured” under the Policy.
26         13.   The Policy provides three types of Coverage: “Contractors Professional
27 Liability Coverage” (Coverage A); “Contractor’s Protective Professional Indemnity
28 Coverage” (Coverage B); and “Rectification Indemnity Coverage” (which is added to
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                             COMPLAINT FOR DECLARATORY JUDGMENT
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 1 the Policy by Endorsement # 11). Only the Rectification Indemnity Coverage is at
 2 issue in this Complaint.
 3         14.   The Policy provides Limits of Liability for Rectification Indemnity
 4 Coverage of $25,000,000 each “Claim” and in the Aggregate. The Policy includes a
 5 Self Insured Retention of $500,000 for each “Claim” for Rectification Indemnity
 6 Coverage.
 7         15.   In the Rectification Indemnity Endorsement (“Endorsement”), Steadfast
 8 agreed, subject to satisfaction of all terms and conditions of the Endorsement, inter
 9 alia, to indemnify the “Named Insured” for its “Actual and Necessary Costs and
10 Expenses,” incurred in rectifying a “Design Defect” in any part of the construction
11 works or engineering works for any project upon which the “Named Insured” is
12 responsible for both design and construction, provided that: (1) the “Named Insured”
13 reports “Actual and Necessary Costs and Expenses” for a “Design Defect” as soon as
14 practicable after discovery of such “Design Defect” but in no event after any
15 certificate of substantial completion has been issued; and (2) the “Named Insured”
16 demonstrates that the “Actual and Necessary Costs and Expenses” arise out of the
17 “Named Insured’s” rendering of “Professional Services” which resulted in a “Design
18 Defect” for which a third party could otherwise make a “Claim” against the “Named
19 Insured.”
20         16.   The Endorsement also contains a provision entitled “Reporting of Actual
21 and Necessary Costs and Expenses” which states that: “Solely with respect to
22 coverage provided by this endorsement, the ‘Named Insured’ must report the ‘Actual
23 and Necessary Costs and Expenses’ to us during the policy period or any applicable
24 Automatic Extended Reporting Period or Optional Extended Reporting Period.”
25         17.   Section VI of the Policy, entitled “Extended Reporting Period”, specifies
26 the circumstances under which an insured is entitled to an “Automatic Extended
27 Reporting Period” or “Optional Extended Reporting Period.” Both periods are
28 available to insureds if Steadfast or the insured terminates or non-renews the insurance
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                              COMPLAINT FOR DECLARATORY JUDGMENT
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 1 for any reason other than nonpayment of premium, the insured’s failure to comply
 2 with any term or condition of the Policy or the insured’s fraud or material
 3 misrepresentation.
 4         18.   The Steadfast Policy was renewed under Contractor’s Protective
 5 Professional Indemnity and Liability Insurance Policy EOC-9485666-10 for the policy
 6 period June 15, 2021, to June 15, 2022. Accordingly, the Automatic Extended
 7 Reporting Period and Optional Extended Reporting Period are not applicable to the
 8 Rectification Costs sought by OnQuest.
 9         19.   The Endorsement defines “Actual and Necessary Costs and Expenses” as
10 “those sums actually incurred by the ‘Named Insured’ which are reasonably related to
11 the efforts needed to remedy a ‘Design Defect’ covered by this endorsement, less any
12 overhead, profit and mark-up of the ‘Named Insured.’”
13         20.   The Endorsement defines “Design Defect” as “an error, omission or
14 negligent act in the preparation of engineering or architectural designs, plans,
15 drawings, specifications, calculations, surveys and studies and shall not include any
16 actual or alleged negligence in the review of shop drawings and submittals, issuance
17 of change orders, observation of construction or review of the contractor’s requests for
18 payment.”
19         21.    The Endorsement contains an exclusion making clear that the insurance
20 provided thereunder does not apply to any cost estimate being exceeded.
21                                       THE CLAIM
22         22.   On information and belief, OnQuest is a specialty engineering company
23 focused on turnkey engineering, procurement and construction (“EPC”) project
24 development for the renewable and liquid natural gas (“LNG”) markets. OnQuest is
25 headquartered in San Dimas California.
26         23.    Effective February 6, 2017, OnQuest entered into a “Fixed Price
27 Engineering, Procurement and Construction Agreement for the Hopkinton LNG
28 Liquefaction Replacement Project” with Eversource Energy Service Company (as
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 1 agent for Hopkinton LNG Corp.). Under the contract, OnQuest apparently was to
 2 design and construct an updated liquefaction facility to replace the existing facility in
 3 Hopkinton, Massachusetts. OnQuest prepared the original design and then contracted
 4 with at least one affiliated company as well as several other contractors and vendors to
 5 perform the actual construction work.
 6         24.    On July 7, 2021, OnQuest, through its broker, notified Steadfast of a
 7 “Notice of Circumstance” for a “Rectification Claim” under Policy EOC 9485666-10
 8 for the Policy Period June 15, 2021, to June 15, 2022. Specifically, OnQuest advised
 9 Steadfast that, after construction commenced on the Project, OnQuest discovered
10 “significant errors and global issues with the original design” of the Project and had
11 begun work to rectify the errors. As part of its July 7 notice, OnQuest provided
12 Steadfast with an 11-page attachment identifying 57 alleged “Design Errors,” for a
13 total rectification cost of more than $24,386,000.00.
14         25.    Steadfast acknowledged OnQuest’s email on July 9, 2021, and sought
15 clarification concerning whether a request for rectification coverage or a notice of
16 circumstance was being reported. OnQuest subsequently clarified, through its broker,
17 that same day, that it was seeking coverage under the Rectification Indemnity
18 Coverage part of the prior Policy No. EOC 9485666-09, effective June 15, 2020, to
19 June 15, 2021, and that it was not seeking coverage under Policy No. ECO 9485666-
20 10, effective June 15, 2021, to June 15, 2022.
21         26.    In its July 9, 2021 email, Steadfast sought twelve different categories of
22 information and documents necessary for it to review and investigate the request for
23 indemnity of OnQuest’s Rectification Costs. In response to Steadfast’s request for
24 additional information, OnQuest provided Steadfast with a formal letter response,
25 dated August 3, 2021, in which it stated that it failed to utilize the level of skill and
26 judgment expected from a similarly situated engineering firm and that it had been
27 negligent in the overall design of the Project, resulting in costs and expenses incurred
28 to rectify the design defect.
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 1         27.    OnQuest also stated in its August 3 letter that the “Design Defects”
 2 attributable to its negligence on the Project were interconnected to the point that the
 3 Rectification Costs “aris[e] out of the same, interrelated, associated, repeated or
 4 continued negligent act, error or omission or a series of related negligent acts, errors
 5 or omissions” and therefore constitute a single “Claim” under Section IV.D.1 of the
 6 Policy.
 7         28.    OnQuest concluded its August 3 letter by asserting that it had incurred an
 8 estimated $28,940,564.69 to date in Rectification Costs, and after accounting for its
 9 self-insured retention of $500,000, it would be entitled to payment of the applicable
10 Limits of Liability of $25,000,000 for Rectification Indemnity Coverage under the
11 Policy. OnQuest indicated, however, that it “was in the process of preparing a more
12 detailed proof of claim submission in an effort to expedite [Steadfast’s] review and
13 approval of the Claim.” In the interim, OnQuest provided certain partial responses to
14 Steadfast’s information requests in a link.
15         29.    By email dated August 30, 2021, OnQuest provided certain cost backup
16 information for its alleged Rectification Costs. The data included a table summarizing
17 costs to date with supporting documentation consisting of Excel spreadsheets, change
18 orders, and similar documents.
19         30.    On September 28, 2021, Steadfast requested certain additional
20 information to aid in its investigation, including eight additional information requests.
21 Steadfast’s September 28, 2021 letter made clear that it was continuing to investigate
22 the circumstances surrounding OnQuest’s request for coverage of its Rectification
23 Costs and that it was reserving any and all of its rights under the Policy and at law
24 concerning coverage, including the right to deny coverage based upon the Policy
25 provisions, terms, definitions or exclusions and at law.
26         31.    On November 4, 2021, OnQuest sent another letter to Steadfast regarding
27 its claim for rectification coverage under the Steadfast Policy. It declined to
28 specifically answer many of Steadfast’s eight requests or to provide certain
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 1 information requested by Steadfast. It did provide additional information in support
 2 of its Request for Rectification Coverage under the Steadfast Policy, including a
 3 document entitled “Proof of Claim” and more than 130 exhibits consisting of
 4 engineering designs, change orders, Excel spreadsheets and other documents
 5 concerning the alleged “Actual and Necessary Costs and Expenses,” incurred in
 6 rectifying the “Design Defects” on the Project.
 7         32.    Steadfast acknowledged OnQuest’s letter on November 19, 2021, and
 8 advised that it would take time for it to review the submitted documentation. It made
 9 a further response on December 18, 2021, indicating that it hoped to complete its
10 review and issue a coverage determination on January 24, 2022.
11         33.    On January 21, 2022, Steadfast denied coverage for OnQuest’s
12 Rectification Costs on the ground that OnQuest had failed to timely report the “Actual
13 and Necessary Costs and Expenses” in connection with its request for Rectification
14 Indemnity Coverage during the policy period of the Steadfast Policy. Steadfast’s
15 January 21, 2022 letter also reserved any and all of Steadfast’s rights under the Policy,
16 including a series of provisions specifically identified in that letter, and at law.
17               REPORTING OF ONQUEST’S RECTIFICATION COSTS
18         34.    As relevant here, the Rectification Indemnity Endorsement provides that
19 Rectification Indemnity Coverage is only available where the “Named Insured”
20 reports to Steadfast the “Actual and Necessary Costs and Expenses” incurred to
21 remedy a “Design Defect” during the Policy Period. The Policy Period in this case
22 ran from June 15, 2020 to June 15, 2021. OnQuest did not report the “Actual and
23 Necessary Costs and Expenses” incurred to remedy the alleged “Design Defect,” for
24 which it seeks indemnity, until after the applicable policy period had expired.
25         35.    In the documentation provided to Steadfast, OnQuest identified
26 numerous errors in the design of the Project and indicated that it began incurring
27 “Actual and Necessary Costs and Expenses” as early as 2019. For example, in its
28 November 4, 2021 letter, OnQuest notes that it “began incurring costs associated with
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 1 the Claim essentially from the inception of construction and potentially even earlier in
 2 the pre-construction engineering phase.” It further stated that construction began in
 3 approximately August, 2019, almost two years before any costs or expenses incurred
 4 to rectify “Design Defects” in the Project were reported to Steadfast.
 5         36.    OnQuest has also confirmed that it was aware of “Design Defects” in the
 6 Project and had incurred “Actual and Necessary Costs and Expenses” to rectify the
 7 “Design Defects” throughout 2020. OnQuest has stated that due to its design errors
 8 and omissions, the design for the Project needed to be upgraded to meet
 9 specifications, codes and engineering requirements, with the result that the quantity of
10 required materials (like piping, steel, electrical equipment, and concrete) and building
11 square footage to complete the Project increased substantially from the original
12 Project design. According to OnQuest, some quantities increased by more than
13 1,000% and several increased by more than 80%.
14         37.    Steadfast’s understanding is that the foregoing significant increase in
15 material costs alone, necessary to rectify the “Design Defects” in the Project, total
16 almost $14 Million. Further, the documentation provided by OnQuest demonstrates
17 that these rectification measures were the subject of change orders as early as 2019
18 and throughout 2020, and were completed, in whole or in part, long before the
19 expiration of the Policy on June 15, 2021.
20         38.    OnQuest did not report its “Actual and Necessary Costs and Expenses”
21 to Steadfast during the policy period of June 15, 2020, to June 15, 2021, as required
22 by the Rectification Indemnity Endorsement of the Policy. Rather, notice was not
23 provided until July 7, 2021, after the expiration of the Policy. Accordingly, the
24 reporting requirements of Rectification Indemnity Coverage under the Endorsement
25 have not been met and the Policy does not provide coverage for the amounts sought
26 by OnQuest.
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 1         39.    Steadfast reserves any and all rights to amend this Complaint should
 2 further facts come to its attention in discovery or otherwise that would provide
 3 additional grounds for disclaiming coverage under the Policy or at law.
 4                                        COUNT I
 5                                 DECLARATORY JUDGMENT
 6         40.    Steadfast repeats and realleges the allegations of Paragraph 1 through 39
 7 as if fully set forth herein.
 8         41.    An actual and justiciable controversy exists between Steadfast and
 9 OnQuest concerning whether coverage is available under the Policy for the “Actual
10 and Necessary Costs and Expenses” allegedly incurred by OnQuest to remedy its
11 “Design Defects.”
12         42.    OnQuest became aware as early as 2019 and no later than 2020 that it
13 had committed a “Design Defect” in its design of the Project.
14         43.    OnQuest began incurring “Actual and Necessary Costs and Expenses”
15 within the meaning of the Policy as early as 2019 and throughout 2020 to rectify the
16 “Design Defect.” These costs and expenses totaled millions of dollars.
17         44.    OnQuest failed to report that it had incurred such “Actual and Necessary
18 Costs and Expenses” until after the expiration of the Policy on June 15, 2021.
19         45.    Coverage is unavailable under the Policy for any and all amounts sought
20 by OnQuest as Rectification Costs under the Policy because OnQuest failed to report
21 the “Actual and Necessary Costs and Expenses” it incurred to Steadfast during the
22 Policy Period of the Policy, as required by the terms of the Policy.
23         46.    Pursuant to its authority under 28 U.S.C. § 2201, this Court should
24 declare that Steadfast owes no duty to indemnify OnQuest for any amounts incurred
25 by OnQuest in connection with rectifying any “Design Defects” by OnQuest in
26 connection with the Project.
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                              COMPLAINT FOR DECLARATORY JUDGMENT
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 1                                 PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff Steadfast Insurance Company respectfully prays that
 3 the Court:
 4           a) Enter judgment for Steadfast on the Complaint;
 5           b) Declare that Steadfast owes no duty to provide coverage to OnQuest
 6              under the Policy and no duty to indemnify OnQuest for any “Actual and
 7              Necessary Costs and Expenses” or any other type of costs or expenses
 8              incurred to remedy a “Design Defect” or other deficiency in the design of
 9              the Project;
10           c) Award Steadfast its costs of suit herein; and
11           d) Award such other relief to Steadfast as the Court deems proper and just.
12
13 Dated: January 21, 2022
14
                                                COZEN O’CONNOR
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16
                                                By:
17                                                     Michael W. Melendez
                                                    Attorneys for Plaintiff
18                                                  STEADFAST INSURANCE
                                                    COMPANY
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